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  7
                              UNITED STATES DISTRICT COURT
  8
                  CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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 10
       FELIX DELGADILLO,                 Case No. CV 20-10107-SVW (AS)
 11
                          Plaintiff,
                                                 JUDGMENT
 12
             v.
 13
       LOS ANGELES COUNTY
 14    DISTRICT ATTORNEYS OFFICE,
       ET. AL.,
 15
                          Defendants.
 16

 17
            Pursuant to the Court’s Order Accepting Findings, Conclusions
 18
      and Recommendations of United States Magistrate Judge,
 19

 20
            IT IS ADJUDGED that the above-captioned action is dismissed
 21
      with prejudice.
 22

 23

 24   DATED: April 28, 2021
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 26                                            ______________________________
                                                     STEPHEN V. WILSON
 27                                            UNITED STATES DISTRICT JUDGE
 28
